    Case 1:17-cr-00295-CMH Document 5 Filed 12/06/17 Page 1 of 2 PageID# 8

                          IN THE UNITED STATES DISTRICT COURT


                         FOR THE EASTERN DISTRICT OF VIRGINIA                                    FILFD
                                                                                            IN OPFN COURT

                                        Alexandria Virginia
                                                                                           :C - 6 2017
                                                                                      CLERK. U.S. DISTRICT CDiJRT
                                                                                        ALfXAfv'DRiA VIRGINIA

IN RE:
                                                               No. l:17cr_235_CWlrt
GRAND JURY PROCEEDINGS
                                                               UNDER SEAL




                               MOTION TO SEAL INDICTMENT



         The United States of America, by and through its attorneys, Dana J. Boente, United States

Attorney for the Eastern District ofVirginia and James P. Gillis, Assistant United States Attorney,

pursuant to Local Criminal Rule 49(B) moves to seal the indictment and arrest warrant(s) in this

case.



         Sealing is necessary to avoid notification ofthe existence ofthe arrest warrant, which could

result in flight from prosecution, the destruction of or tampering with evidence, the intimidation

of potential witnesses, jeopardize the safety of the arresting officers, or otherwise jeopardize the

investigation.   Another procedure will not adequately protect the needs oflaw enforcement at this

time.

         Such sealing is within the discretion of this Court and may be granted for any legitimate

prosecutorial need. United States v. Ramey, 791 F.2d 317,321 (4th Cir. 1986); see also, Baltimore

Sun Co. V. Goetz^ 886 F.2d 60, 65 (4th Cir. 1989).

         The United States requests that the indictment and arrest warrant remain under seal until

the arrest ofthe defendant, at which time the indictment may be treated as a matter ofpublic record.

         The United States fiirther requests that: (1) a certified copy of the indictment be provided

to those law enforcement officials involved in the prosecution of this case; and (2) a copy ofthe
   Case 1:17-cr-00295-CMH Document 5 Filed 12/06/17 Page 2 of 2 PageID# 9

sealed arrest warrant be made available to agents of the Federal Bureau of Investigation for
execution.




                                                 Dana J. Boente
                                                 United States Attorn



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